                Case 3:23-cr-00068-X UNITED STATES
                                      Document 9 Filed 03/24/23 COURT
                                                    DISTRICT     Page 1 of 1 PageID 61
                                      NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
     JUDGE: IRMA CARRILLO RAMIREZ
     DEPUTY CLERK Marie Gonzales                          COURT REPORTER/TAPE NO: FTR
     LAW CLERK:                                           usPo/Prso: LZlr
     INTERPRETER:                                         COURT TIME: 7-','       2-z;<1
     A.M.                I P.tvt. Z:OO                    DATE: March 24,2023


sfrec.    No.           EDIST. cR. No. 3:23-mj-0031O-BH           USDJ Magistrate Judge Irma Canillo Ramirez

    UNITED STATES OF AMERICA                              $       hA{zq        -feYY{H#{                             AUSA
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                                                          $
                                                                         FOR DEFENDANTS APPT _ (A), REtd   -   (R), FPD   -   (F)
    HAKEEM AZ\Z WILEY (1)                                 $


gd(TTnI  APPEARANCE f]IDENTITY NBOND HEARING NPR,ELIMINARY HEARTNG
N DETENTION HEARING NCOUNSEL DETERMINATION HEARING IREMOVAL HEARING NEXTRADITION HEARING
tr HEARTNG CONTINUED ON               CASE NO'                NOTHERDISTRICT NDIVISION
                             ------------..-
gnBoF     FEDERAL ARREST/cUSToDy: 3 tz3 t2023 fl suRRENDER
N RULE 5/32 NAPPEARED ON WRIT
v6er FIRST APPEARANcE. DEFT ADVISED oF RIGHTS/CHARGES NPROBATION/SUPERVISED RELEASE VIOLATOR
WT{W FIRST APPEARANCE WITH COI.IN SEL.
fl DEFT nMW (MATERIAL WITNESS)                                APPEARED   I]WITH f]WITHOUT COUNSEL
gdquesrs APPoINTED couN sEL.
g4INENCIAL AFFIDAVIT EXECUTED.
!.odosn    APPoINTING FEDERAL PUBLIc DEFENDER.
!    PRIVATE COUNSEL APPOINTED
f]   DEFT HAS RETAINED COT'N6EL
tr   ARRAIGNMENT SET tr#TENTION HEARING SET

          IMINARY HEARING SET                        NBOND HEARING SET
N COUNSEL DETERMINATION HEA              SET
tr IDENTITY/REMOVAL HEARING SET
N BOND NSET NREDUCED TO $ -                  ICASH I SURETY Arc% N PR NUNS N3RD PTY NMW
D NO BgND SET AT THIS TIME,     DAY DETENTION ORDER TO BE ENTERED.
E-odnn oF TEMPoRARY DETENTION/COMMITMENT        PENDING HEARING ENTERED.
                            -
N ORDER OF DETENTION PENDING TRIAL ENTERED'
N DEFT ADVISED OF CONDITIONS OF RELEASE.
N BOND EXECUTED f]DEFT trMW RELEASED NSTATE AUTHORITIES NINS
fr6t lMw      REMANDED To cusroDY'
N DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.
f] WAIVEROF trPRELIMINARY HEARTNG NRULE 5/32 HEARING f]DETENTION             u.s. Dls tRtcT COuHr
! COURT FINDS PROBABLE CAUSE NID NPC.                                    NORTFIERN DtgBqr or      -
                                                                                               TEXAS
N DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRANT.
tr GOVERNMENT TO NOTIFY FOREIGN CONSULAR.
*6o.R. 6RIM. p. s(fxl) 6RAL 9RDER ISSUED. ryRITTEN 9RDER To FoLLow.
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N REMARKS:
